Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 1 of 19 PAGEID #: 6991
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 2 of 19 PAGEID #: 6992
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 3 of 19 PAGEID #: 6993
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 4 of 19 PAGEID #: 6994
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 5 of 19 PAGEID #: 6995
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 6 of 19 PAGEID #: 6996
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 7 of 19 PAGEID #: 6997
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 8 of 19 PAGEID #: 6998
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 9 of 19 PAGEID #: 6999
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 10 of 19 PAGEID #: 7000
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 11 of 19 PAGEID #: 7001
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 12 of 19 PAGEID #: 7002
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 13 of 19 PAGEID #: 7003
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 14 of 19 PAGEID #: 7004
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 15 of 19 PAGEID #: 7005
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 16 of 19 PAGEID #: 7006
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 17 of 19 PAGEID #: 7007
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 18 of 19 PAGEID #: 7008
Case: 2:05-cv-00819-EAS-TPK Doc #: 311 Filed: 03/12/09 Page: 19 of 19 PAGEID #: 7009
